       Case 1:21-cr-00433-BAH Document 25 Filed 10/13/21 Page 1 of 40


                                                                                  APPEAL,CAT B
                         U.S. District Court
              District of Columbia (Washington, DC)
  CRIMINAL DOCKET FOR CASE #: 1:21−cr−00433−BAH All Defendants

Case title: USA v. HARMON                                Date Filed: 06/28/2021

Assigned to: Chief Judge Beryl A.
Howell

Defendant (1)
GARY JAMES HARMON                   represented by Sabrina P. Shroff
                                                   OFFICE OF THE FEDERAL PUBLIC
                                                   DEFENDER
                                                   625 Indiana Avenue, NW
                                                   Suite 550
                                                   20004
                                                   Washington, DC 20004
                                                   (202) 208−7500
                                                   Fax: (202) 208−7515
                                                   Email: Sabrina_Shroff@fd.org
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Public Defender or Community
                                                   Defender Appointment

                                                  Sandra Gayle Roland
                                                  FEDERAL PUBLIC DEFENDER FOR D.C.
                                                  625 Indiana Avenue, NW
                                                  Suite 550
                                                  Washington, DC 20004
                                                  (202) 208−7500
                                                  Fax: 202−208−7515
                                                  Email: sandra_roland@fd.org
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Pending Counts                                    Disposition
18:1956(a)(1)(B)(i); MONEY
LAUNDERING − FRAUD,
OTHER; Money Laundering
(1−8)
18:1512(c)(2); TAMPERING
WITH A WITNESS, VICTIM OR
INFORMANT; Obstruction of an
Official Proceeding
(9)


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         Case 1:21-cr-00433-BAH Document 25 Filed 10/13/21 Page 2 of 40


18:2232(a); DESTRUCTION OR
REMOVAL OF PROPERTY TO
PREVENT SEIZURE; Removal of
Property TO Prevent Seizure
(10)

Highest Offense Level (Opening)
Felony

Terminated Counts                                Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                       Disposition
None



Plaintiff
USA                                       represented by Christopher Brodie Brown
                                                         U.S. ATTORNEY'S OFFICE FOR THE
                                                         DISTRICT OF COLUMBIA
                                                         555 Fourth Street, NW
                                                         Washington, DC 20530
                                                         (202) 252−7153
                                                         Fax: (202) 514−9155
                                                         Email: christopher.brown6@usdoj.gov
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: Assistant U.S. Attorney

                                                        Catherine Pelker
                                                        U.S. DEPARTMENT OF JUSTICE
                                                        950 Pennsylvania Ave NW
                                                        Washington, DC 20530
                                                        202−616−5007
                                                        Email: catherine.pelker@usdoj.gov
                                                        ATTORNEY TO BE NOTICED
                                                        Designation: Assistant U.S. Attorney

 Date Filed    #    Page Docket Text
 06/28/2021    1         SEALED INDICTMENT as to GARY JAMES HARMON (1) count(s) 1−8, 9,
                         10. (FORFEITURE ALLEGATION). (bb) (Entered: 06/29/2021)



                                                                                                2
     Case 1:21-cr-00433-BAH Document 25 Filed 10/13/21 Page 3 of 40



06/28/2021   3     MOTION to Seal Case by USA as to GARY JAMES HARMON. (Attachments:
                   # 1 Text of Proposed Order)(bb) (Entered: 06/29/2021)
06/28/2021   4     ORDER granting 3 Motion to Seal Case as to GARY JAMES HARMON (1).
                   Signed by Magistrate Judge G. Michael Harvey on 6/28/2021. (bb) (Entered:
                   06/29/2021)
07/28/2021   5     Arrest Warrant Returned Executed on 7/28/2021 in Cleveland, OH as to GARY
                   JAMES HARMON. (bb) (Entered: 07/28/2021)
07/28/2021         Arrest of GARY JAMES HARMON in Ohio. (bb) (Entered: 07/28/2021)
07/28/2021         Case unsealed as to GARY JAMES HARMON (bb) (Entered: 07/28/2021)
08/03/2021   6     STANDING ORDER as to GARY JAMES HARMON. Signed by Chief Judge
                   Beryl A. Howell on August 3, 2021. (lcbah2) (Entered: 08/03/2021)
08/12/2021   7     NOTICE OF ATTORNEY APPEARANCE Catherine Pelker appearing for
                   USA. (Pelker, Catherine) (Entered: 08/12/2021)
08/13/2021         ORAL MOTION by Defendant GARY JAMES HARMON to Appoint Counsel.
                   (kk) (Entered: 08/18/2021)
08/13/2021         ORAL MOTION by USA for Temporary Detention (3−day hold request) of
                   Defendant GARY JAMES HARMON. (kk) (Entered: 08/18/2021)
08/13/2021         Minute Entry for Initial Appearance and Arraignment as to GARY JAMES
                   HARMON held by video before Magistrate Judge Robin M. Meriweather on
                   8/13/2021 : The defendant agrees to proceed by video for today's hearing. The
                   defendant expressed interest in having his future hearings conducted in−person.
                   Oral Motion by Defendant to Appoint Counsel. The defendant's assets have been
                   frozen. The Court finds that the defendant is eligible for court−appointed
                   counsel and appoints Assistant Federal Public Defender Sabrina Shroff to
                   represent GARY JAMES HARMON. Plea of Not Guilty entered by GARY
                   JAMES HARMON to Counts 1−8, 9 and 10. The Court advised the Government
                   of its due process obligations under Rule 5(f). Status Hearing set before Chief
                   Judge Beryl A. Howell on 8/19/2021 at 1:00 PM by telephonic/VTC. Oral
                   Motion by USA for Temporary Detention (3−day hold request) of the defendant,
                   heard and granted. The detention hearing will be scheduled after defense counsel
                   notifies chambers of her available dates for the hearing. Bond Status of
                   Defendant: Defendant remains committed. Court Reporter: FTR Gold − Ctrm. 7;
                   FTR Time Frame: 2:27:28 − 3:12:54. Defense Attorney: Sabrina Shroff; DOJ
                   Attorney: Alden Pelker standing in for Christopher Brown; Pretrial Officer:
                   Christine Schuck. (kk) (Entered: 08/18/2021)
08/16/2021         NOTICE OF HEARING as to GARY JAMES HARMON. The parties shall take
                   notice that an Initial Status Conference is scheduled for 8/19/2021, at 1:00 PM
                   in via videoconference before Chief Judge Beryl A. Howell. A videoconference
                   link will be provided by the deputy clerk. (ztg) (Entered: 08/16/2021)
08/17/2021   9     NOTICE OF ATTORNEY APPEARANCE: Sabrina P. Shroff appearing for
                   GARY JAMES HARMON (Shroff, Sabrina) (Entered: 08/17/2021)
08/19/2021         Minute Entry for proceedings held before Chief Judge Beryl A. Howell: Status
                   Conference as to GARY JAMES HARMON held via videoconference on
                   8/19/2021; the Defendant agreed to participate via videoconference after


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     Case 1:21-cr-00433-BAH Document 25 Filed 10/13/21 Page 4 of 40



                   consultation with counsel. A Bond Hearing is scheduled for 9/9/2021, at 9:30
                   AM before Chief Judge Beryl A. Howell; a briefing scheduling order will be
                   issued by the Court. A further Status Hearing is scheduled for 9/23/2021, at 9:00
                   AM before Chief Judge Beryl A. Howell. The Defendant agreed to exclude time
                   under the Speedy Trial Act until the next status hearing of 9/23/2021. The Court
                   found that time under the Speedy Trial Act shall be excluded from 8/19/2021
                   through 9/23/2021, in the interests of justice and those interests outweigh the
                   interests of the public and the defendant in a speedy trial in order to give the
                   parties time to discuss a protective order, give the government time for
                   production of discovery, and the Defendant and his counsel time to review and
                   discuss the discovery. Bond Status of Defendant: Defendant committed. Present
                   via videoconference: Defense Attorney: Sabrina P. Shroff; US Attorneys:
                   Christopher B. Brown and Catherine Pelker. Court Reporter: Elizabeth
                   Saint−Loth. (ztg) (Entered: 08/19/2021)
08/19/2021         MINUTE ORDER (paperless), as to GARY JAMES HARMON, ISSUING the
                   following SCHEDULING ORDER: (1) by August 24, 2021, the government
                   shall file its motion for pretrial detention; (2) defendant shall file his opposition
                   by August 30, 2021; (3) the government shall file any reply by September 1,
                   2021; and (4) the parties shall appear via videoconference at 9:30am on
                   September 9, 2021, for a hearing on the government's motion for pretrial
                   detention. Signed by Chief Judge Beryl A. Howell on August 19, 2021. (lcbah2)
                   (Entered: 08/19/2021)
08/24/2021   10    MEMORANDUM in Support of Pretrial Detention by USA as to GARY
                   JAMES HARMON (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Brown,
                   Christopher) (Entered: 08/24/2021)
08/27/2021   11    Defendant's Motion for an Extension of Time to Oppose The Government's
                   Motion for Pretrial Detention by GARY JAMES HARMON. (Shroff, Sabrina)
                   Modified event and text on 8/31/2021 (bb). (Entered: 08/27/2021)
08/27/2021         MINUTE ORDER (paperless) GRANTING defendant's consent 11 Motion for
                   an Extension of Time to Oppose the Government's Motion for Pretrial
                   Detention, and AMENDING the SCHEDULING ORDER as follows: (1)
                   defendant shall file his opposition by September 3, 2021; (2) the government
                   shall file any reply by September 6, 2021; and (3) the parties shall appear via
                   videoconference at 2:00pm on September 9, 2021, for a hearing on the
                   government's motion for pretrial detention. Signed by Chief Judge Beryl A.
                   Howell on August 27, 2021 (lcbah2) (Entered: 08/27/2021)
08/30/2021         Set/Reset Deadlines/Hearings as to GARY JAMES HARMON: Defendant's
                   opposition due by 9/3/2021. Government's reply due by 9/6/2021. VTC Bond
                   Hearing rescheduled to 9/9/2021 at 2:00 PM before Chief Judge Beryl A.
                   Howell. (hmc) (Entered: 08/30/2021)
08/30/2021   12    MOTION for Protective Order by USA as to GARY JAMES HARMON.
                   (Attachments: # 1 Text of Proposed Order)(Brown, Christopher) (Entered:
                   08/30/2021)
08/31/2021         MINUTE ORDER granting 12 Motion for Protective Order as to GARY
                   JAMES HARMON. Signed by Chief Judge Beryl A. Howell on 8/31/2021.
                   (hmc) (Entered: 08/31/2021)
09/01/2021   13

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     Case 1:21-cr-00433-BAH Document 25 Filed 10/13/21 Page 5 of 40



                   PROTECTIVE ORDER as to GARY JAMES HARMON. Signed by Chief
                   Judge Beryl A. Howell on September 1, 2021. (lcbah2) (Entered: 09/01/2021)
09/02/2021         NOTICE OF RESCHEDULED HEARING as to GARY JAMES HARMON.
                   The parties shall take notice that the Pretrial Detention Hearing set for 9/9/2021
                   is RESCHEDULED to 9/10/2021 at 2:00 PM, via videoconference, before Chief
                   Judge Beryl A. Howell. (hmc) (Entered: 09/02/2021)
09/03/2021   14    Memorandum in Opposition by GARY JAMES HARMON re MOTION for
                   Temporary Detention (Attachments: # 1 Exhibit)(Shroff, Sabrina) (Entered:
                   09/03/2021)
09/06/2021   15    REPLY by USA as to GARY JAMES HARMON re 14 Memorandum in
                   Opposition to the Government's Motion for Pretrial Detention (Brown,
                   Christopher) (Entered: 09/06/2021)
09/08/2021   16    LETTER by GARY JAMES HARMON. "Leave to File Granted" by Chief
                   Judge Beryl A. Howell on 9/8/2021. (bb) (Entered: 09/10/2021)
09/10/2021         Minute Entry for proceedings held before Chief Judge Beryl A. Howell: Motion
                   Hearing as to GARY JAMES HARMON held via videoconference on
                   9/10/2021; the Defendant agreed to participate via videoconference after
                   consultation with counsel. Argument heard by the Court on the Government's
                   Motion for Pretrial Detention, Motion Hearing CONTINUED to 9/14/2021, at
                   12:00 PM before Chief Judge Beryl A. Howell. Bond Status of Defendant:
                   Defendant committed. Present via videoconference: Defense Attorney: Sabrina
                   P. Shroff; US Attorney: Christopher B. Brown and Catherine Pelker; Pretrial
                   Officer: Christine Schuck (telephonically). Court Reporter: Elizabeth
                   Saint−Loth. (ztg) (Entered: 09/10/2021)
09/13/2021         MINUTE ORDER (paperless) DIRECTING defendant, by 4pm today, to advise
                   the Court about his position regarding the conditions for pre−trial release agreed
                   to in US v. Larry Harmon, 19−cr−395, including (1) the prohibition on
                   defendant conducting any virtual or crypto currency transactions, see
                   19−cr−395, ECF No. 20 at 2, and (2) directing defendant to provide the
                   government with "access to any and all cryptocurrency within the defendant's
                   possession, custody, and control, including by disclosing seed recovery keys,
                   access to hidden wallets, and other keys needed to transfer cryptocurrency," see
                   19−cr−395, ECF No. 26 at 1. Signed by Chief Judge Beryl A. Howell on
                   September 13, 2021. (lcbah2) (Entered: 09/13/2021)
09/13/2021         Set/Reset Deadlines as to GARY JAMES HARMON: Response to Order of the
                   Court due by 4:00 PM on 9/13/2021. (ztg) (Entered: 09/13/2021)
09/13/2021   17    Joint MOTION to Continue Detention Hearing by USA as to GARY JAMES
                   HARMON. (Attachments: # 1 Text of Proposed Order)(Brown, Christopher)
                   (Entered: 09/13/2021)
09/14/2021         MINUTE ORDER granting 17 Joint Motion to Continue Hearing on Pretrial
                   Detention as to GARY JAMES HARMON. Upon consideration of the joint
                   motion, it is hereby ORDERED that the hearing on the Government's Motion for
                   Pretrial Detention currently scheduled for September 14, 2021, shall be
                   CONTINUED to September 17, 2021, at 12:30 PM via videoconference before
                   Chief Judge Beryl A. Howell. SO ORDERED. Signed by Chief Judge Beryl A.
                   Howell on 9/14/2021. (ztg) (Entered: 09/14/2021)


                                                                                                        5
     Case 1:21-cr-00433-BAH Document 25 Filed 10/13/21 Page 6 of 40



09/16/2021   18    NOTICE Regarding Failure To Reach Agreement on Proposed Conditions of
                   Release by USA as to GARY JAMES HARMON (Attachments: # 1 Exhibit
                   A)(Brown, Christopher) (Entered: 09/16/2021)
09/16/2021   19    RESPONSE by GARY JAMES HARMON re 18 Notice (Attachments: # 1
                   Exhibit)(Shroff, Sabrina) Modified event title and link on 9/21/2021 (znmw).
                   (Entered: 09/16/2021)
09/17/2021         Minute Entry for proceedings held before Chief Judge Beryl A. Howell: Motion
                   Hearing as to GARY JAMES HARMON not held on 9/17/2021. The motion
                   hearing will be continued to a date and time next week when the D.C. Jail can
                   accommodate the appearance of the Defendant who is in quarantine due to
                   COVID 19. Bond Status of Defendant: Defendant committed. Present: Defense
                   Attorney: Sabrina Shroff; US Attorneys: Christopher B. Brown and Catherine
                   Pelker; Pretrial Officer: Christine Schuck. Court Reporter: Elizabeth Saint−Loth.
                   (ztg) (Entered: 09/17/2021)
09/20/2021         Set/Reset Hearings as to GARY JAMES HARMON: Motion Hearing
                   RESCHEDULED for 9/24/2021, at 10:45 AM via videoconference before Chief
                   Judge Beryl A. Howell. (ztg) (Entered: 09/20/2021)
09/20/2021         Terminate Hearings as to GARY JAMES HARMON: Status Hearing scheduled
                   for 9/23/2021, VACATED. (ztg) (Entered: 09/20/2021)
09/24/2021         Minute Entry for proceedings held before Chief Judge Beryl A. Howell:
                   Detention Hearing as to GARY JAMES HARMON held via videoconference on
                   9/24/2021; the Defendant agreed to participate telephonically after consultation
                   with counsel. Government's Motion for Pretrial Detention, heard and granted.
                   The Defendant shall remain detained pending trial. A Status Hearing is
                   scheduled for 11/5/2021, at 9:00 AM before Chief Judge Beryl A. Howell. Time
                   excluded under the Speedy Trial Act from 9/24/2021 through 11/5/2021, in the
                   interests of justice and those interests outweigh the interests of the public and
                   the defendant in a speedy trial in order to give time for the completion of
                   discovery, the parties discussions for a disposition short of trial, and for the
                   Defendant and his counsel to discuss how they wish to proceed in this case.
                   Bond Status of Defendant: Defendant committed. Present via videoconference:
                   Defense Attorney: Sabrina P. Shroff; US Attorneys: Christopher B. Brown and
                   Catherine Pelker; Pretrial Officer: John Copes (in person). Court Reporter:
                   Elizabeth Saint−Loth. (ztg) (Entered: 09/24/2021)
09/27/2021   20    ORDER of DETENTION PENDING TRIAL as to GARY JAMES HARMON.
                   Signed by Chief Judge Beryl A. Howell on September 27, 2021. (lcbah2)
                   (Entered: 09/27/2021)
10/03/2021   21    TRANSCRIPT OF PROCEEDINGS, in case as to GARY JAMES HARMON,
                   before Chief Judge Beryl A. Howell, held on 9−10−2021. Page Numbers: 1 −
                   44. Date of Issuance: 10−03−2021. Court Reporter: Elizabeth SaintLoth,
                   Telephone number: 202−354−3242. Transcripts may be ordered by submitting
                   the Transcript Order Form

                   For the first 90 days after this filing date, the transcript may be viewed at the
                   courthouse at a public terminal or purchased from the co urt reporter referenced
                   above. After 90 days, the transcript may be accessed via PACER. Other
                   transcript formats, (multi−page, condensed, CD or ASCII) may be purchased


                                                                                                       6
     Case 1:21-cr-00433-BAH Document 25 Filed 10/13/21 Page 7 of 40



                   from the court reporter.

                   NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                   twenty−one days to file with the court and the court reporter any request to
                   redact personal identifiers from this transcript. If no such requests are filed, the
                   transcript will be made available to the public via PACER without redaction
                   after 90 days. The policy, which includes the five personal identifiers
                   specifically covered, is located on our website at www.dcd.uscourts.gov.

                   Redaction Request due 10/24/2021. Redacted Transcript Deadline set for
                   11/3/2021. Release of Transcript Restriction set for 1/1/2022.(Saint−Loth,
                   Elizabeth) (Entered: 10/03/2021)
10/03/2021   22    TRANSCRIPT OF PROCEEDINGS, in case as to GARY JAMES HARMON,
                   before Chief Judge Beryl A. Howell, held on 9−24−2021. Page Numbers: 1 −
                   39. Date of Issuance: 10−03−2021. Court Reporter: Elizabeth SaintLoth,
                   Telephone number: 202−354−3242. Transcripts may be ordered by submitting
                   the Transcript Order Form

                   For the first 90 days after this filing date, the transcript may be viewed at the
                   courthouse at a public terminal or purchased from the co urt reporter referenced
                   above. After 90 days, the transcript may be accessed via PACER. Other
                   transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
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                   transcript will be made available to the public via PACER without redaction
                   after 90 days. The policy, which includes the five personal identifiers
                   specifically covered, is located on our website at www.dcd.uscourts.gov.

                   Redaction Request due 10/24/2021. Redacted Transcript Deadline set for
                   11/3/2021. Release of Transcript Restriction set for 1/1/2022.(Saint−Loth,
                   Elizabeth) (Entered: 10/03/2021)
10/08/2021   23    NOTICE OF ATTORNEY APPEARANCE: Sandra Gayle Roland appearing for
                   GARY JAMES HARMON (Roland, Sandra) (Entered: 10/08/2021)
10/08/2021   24    NOTICE OF APPEAL − Interlocutory by GARY JAMES HARMON re 20
                   Order. Fee Status: No Fee Paid. Parties have been notified. (Roland, Sandra)
                   Modified event on 10/13/2021 (bb). (Entered: 10/08/2021)




                                                                                                          7
          Case 1:21-cr-00433-BAH Document 25
                                          24 Filed 10/13/21
                                                   10/08/21 Page 8
                                                                 1 of 40
                                                                      19



                                                                                            CO-290
Notice of Appeal Criminal                                                                  Rev. 3/88

                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                           :

        v.                                          :               Cr. No. 21-433 (BAH)

GARY JAMES HARMON,                                  :

                 Defendant.                         :

                                         NOTICE OF APPEAL
Name and address of appellant:                               Gary James Harmon
                                                             Central Detention Facility
                                                             1901 D St., S.E.
                                                             Washington, DC 20003

Name and address of appellant’s attorney:                    Sandra Roland
                                                             Assistant Federal Public Defender
                                                             625 Indiana Avenue, NW, Suite 550
                                                             Washington, DC 20004

Offense:         18 U.S.C. § 1956(a)(1)(B)(i) – Money Laundering; 18 U.S.C. § 1512(c)(2) –
                 Obstruction of an Official Proceeding; and 18 U.S.C. § 2232 (a) – Removal
                 of Property to Prevent Seizure

Concise statement of judgment or order, giving date, and any sentence:

                 09/27/2021: Order of Detention pending trial.

Name and institution where now confined, if not on bail:               Central Detention Facility

I, the above named appellant, hereby appeal to the United States Court of Appeals
for the District of Columbia Circuit from the above-stated judgment.


        10/08/2021                                                Gary James Harmon ___        ____
         DATE                                                      APPELLANT


CJA, NO FEE             FPD                                      Sandra Roland _____________
PAID USDC FEE           No                                   ATTORNEY FOR APPELLANT
PAID USCA FEE           No_______
Does counsel wish to appear on appeal? X Yes ___ No
Has counsel ordered transcripts? _ _ Yes      X No
Is this appeal pursuant to the 1984 Sentencing Reform Act?     Yes _X_ No




                                                                                                       8
Case 1:21-cr-00433-BAH Document 25
                                20 Filed 10/13/21
                                24       09/27/21 Page 9
                                         10/08/21      1 of 40
                                                       2    12
                                                            19




                                                                 9
Case
Case1:21-cr-00433-BAH
     1:21-cr-00433-BAH Document
                       Document25
                                20 Filed
                                24 Filed10/13/21
                                         09/27/21 Page
                                         10/08/21 Page10
                                                       2 of
                                                       3 of19
                                                            12
                                                            40




                                                                 10
Case
Case1:21-cr-00433-BAH
     1:21-cr-00433-BAH Document
                       Document25
                                20 Filed
                                24 Filed10/13/21
                                         09/27/21 Page
                                         10/08/21 Page11
                                                       3 of
                                                       4 of19
                                                            12
                                                            40




                                                                 11
Case
Case1:21-cr-00433-BAH
     1:21-cr-00433-BAH Document
                       Document25
                                20 Filed
                                24 Filed10/13/21
                                         09/27/21 Page
                                         10/08/21 Page12
                                                       4 of
                                                       5 of19
                                                            12
                                                            40




                                                                 12
          Case
          Case1:21-cr-00433-BAH
               1:21-cr-00433-BAH Document
                                 Document25
                                          20 Filed
                                          24 Filed10/13/21
                                                   09/27/21 Page
                                                   10/08/21 Page13
                                                                 5 of
                                                                 6 of19
                                                                      12
                                                                      40

                                     United States v. Harmon, 21-cr-433


     ATTACHMENT TO ORDER OF DETENTION PENDING TRIAL, PART III. C:
          Consideration of Defendant’s evidence/arguments for release and
                            18 U.S.C. § 3142(g) Factors
(1) The Nature and Circumstances of the Offense:

         The nature and circumstances of the offense weigh in favor of detention. Defendant is

charged by indictment with ten felony counts of money laundering, obstruction of an official

proceeding, and removal of property to prevent seizure, see Indictment, ECF No. 2, based on his

alleged offense conduct, beginning in April 2020, of absconding with approximately 712.6

bitcoin (with a current estimated value of $ 30,500,000) that was contained in the bitcoin wallets

seized by the government upon the arrest of his brother, Larry Harmon, and subject to forfeiture

in that case, United States v. Larry Dean Harmon, No. 19-cr-395 (BAH). Gov’t’s Mem. in

Supp. of Pretrial Detention (“Gov’t’s Mem.”) at 1-2, 17, ECF No. 10. The government proffers

that defendant took control of the 712.6 bitcoin “knowing that the property represented his

brother’s illegal proceeds from operating the bitcoin money laundering service Helix, and

knowing that the property had been seized and was part of the criminal proceeding against his

brother.” Id. at 17. 1

         According to the government, defendant stole the 712.6 bitcoin “after he personally

attended court hearings [on February 11 and March 13, 2020] in his brother’s case and heard

testimony and argument about the unsecured bitcoin.” Id. (emphasis in original). As a condition

of pretrial release, Larry Harmon agreed not to engage in any cryptocurrency transactions.

Between April 19 and 24, 2020, defendant allegedly executed the theft while law enforcement

had custody of electronic storage devices and access keys seized from Larry Harmon that




1
         Helix was a bitcoin “mixer” or “tumbler” that enabled customers, for a fee, to send bitcoins to designated
recipients in a manner which was designed to conceal and obfuscate the source or owner of the bitcoins. See
Gov’t’s Mem. at 1.

                                                   Page 1 of 8


                                                                                                                      13
        Case
        Case1:21-cr-00433-BAH
             1:21-cr-00433-BAH Document
                               Document25
                                        20 Filed
                                        24 Filed10/13/21
                                                 09/27/21 Page
                                                 10/08/21 Page14
                                                               6 of
                                                               7 of19
                                                                    12
                                                                    40

                               United States v. Harmon, 21-cr-433


contained evidence of the latter’s illegal bitcoin transactions for which Larry Harmon has now

pleaded guilty. See 19-cr-395 (BAH), ECF No. 122. This prompted an emergency detention

hearing on April 28, 2020 for Larry Harmon, who denied he had violated the pretrial release

condition and was ordered to provide the government with access to all his cryptocurrency and

turn over those assets to law enforcement for their preservation. See id., ECF No. 26.

       Despite the risk of causing the revocation of his brother’s pretrial release, defendant

allegedly took the bold move of transferring 712.6 bitcoin from his brother’s bitcoin wallets

using remote means into new bitcoin wallets, and then transferred some of that bitcoin through

two different bitcoin mixers, Wasabi Wallet and ChipMixer.com, see Gov’t’s Mem. at 10, in an

effort to obscure the source of the bitcoin. The government further alleges that defendant

subsequently “began making thousands of dollars in unexplained cash deposits into his bank

account in late 2020 and early 2021,” id. at 11, a period when he was collecting unemployment

insurance but during which period he nonetheless engaged in a significant spending spree that

included the purchase of a luxury automobile and apartment in Cleveland, Ohio, see id. at 11-12;

spending “bitcoin extravagantly at nightclubs,” id. at 14; and using “TapJets, a private charter jet

company that accepts bitcoin as payment,” id. See also id., Fig. 5 (showing evidence recovered

from defendant’s cellphone, including receipts for nightclub expenditures and a photo of

defendant inside a bathtub and covered by $100,000 in single dollar bills). In this context, the

government argues that defendant’s “ability to remotely reconstitute [the bitcoin wallets seized

from his brother], transfer . . . the bitcoin into new, unhosted wallets, and then gradually launder

the bitcoin through two bitcoin mixing services reflects a significant degree of technological

sophistication” and “a high level of operational security.” Id. at 18.




                                            Page 2 of 8


                                                                                                       14
        Case
        Case1:21-cr-00433-BAH
             1:21-cr-00433-BAH Document
                               Document25
                                        20 Filed
                                        24 Filed10/13/21
                                                 09/27/21 Page
                                                 10/08/21 Page15
                                                               7 of
                                                               8 of19
                                                                    12
                                                                    40

                               United States v. Harmon, 21-cr-433


       As a result of this offense conduct, defendant is charged with three serious felony

offenses: (1) eight counts of money laundering, in violation of 18 U.S.C. § 1956(a)(1)(B)(i),

punishable by up to 20 years’ imprisonment on each count; (2) one count of corruptly

obstructing, influencing, or impending any official proceeding or attempting to do so, in

violation of 18 U.S.C. § 1512(c)(2), punishable by up to 20 years’ imprisonment; and (3) one

count of knowingly destroying, damaging, wasting, disposing of, transferring, or otherwise

taking any action with regards to property for the purpose of preventing or impairing the

government’s lawful authority to take such property into its custody or control, in violation of 18

U.S.C. § 2232(a), punishable by up to 5 years’ imprisonment. Defendant’s conviction would

also expose him to a significant financial penalty. See Gov’t’s Mem. at 19; see also United

States v. Bikundi, 47 F. Supp. 3d 131, 134 (D.D.C. 2014) (finding “substantial incentive to flee”

where defendant faced 20-year maximum on money laundering charges); United States v. Hong

Vo, 978 F. Supp. 2d 41, 43 (D.D.C. 2013) (finding detention appropriate for defendant facing

high penalties for bribery and visa fraud).

       The nature and circumstances of defendant’s serious offense conduct involving alleged

obstruction in his brother’s criminal case accordingly weigh in favor of pretrial detention.

(2) The Weight of the Evidence Against the Person:

       The weight of the evidence against defendant strongly favors pretrial detention. The

government has significant and strong circumstantial evidence that defendant used remote means

to steal, transfer, and launder the missing 712.6 bitcoin formerly owned by his brother, Larry

Harmon, that was evidence in Larry Harmon’s criminal case and subject to forfeiture by the

government. Key evidence strongly supporting the charges in this case include:




                                              Page 3 of 8


                                                                                                      15
        Case
        Case1:21-cr-00433-BAH
             1:21-cr-00433-BAH Document
                               Document25
                                        20 Filed
                                        24 Filed10/13/21
                                                 09/27/21 Page
                                                 10/08/21 Page16
                                                               8 of
                                                               9 of19
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                              United States v. Harmon, 21-cr-433


1. Defendant’s presence at court proceedings against his brother suggests that he knew the

   bitcoin owned by Larry Harmon was intended to be secured for future forfeiture by the

   government as illegal proceeds from Larry Harmon’s bitcoin money laundering service

   Helix. See Gov’t’s Mem. at 20-21. The government had seized Larry Harmon’s

   cryptocurrency Trezor storage devices in an effort to secure access to this bitcoin. To the

   extent defendant contends he did not understand the stolen 712.6 bitcoin was subject to

   forfeiture in the case against his brother, see Def.’s Mem. in Opp’n to Gov’t’s Mot. for

   Pretrial Detention (“Def.’s Opp’n”) at 7, ECF No. 14, this argument is simply unpersuasive.

2. To secure their cryptocurrency assets, bitcoin owners keep confidential or otherwise protect

   the seed recovery passphrases and additional access credentials necessary for transferring

   their bitcoin. Defendant admitted to the FBI during a voluntary interview on July 15, 2020

   that he obtained from Larry Harmon a USB thumb drive containing passwords for accounts

   and servers used at Larry Harmon’s company, where defendant worked, as well as “partial

   sets of seed words” for his brother’s bitcoin wallets, but defendant claims to have “flushed

   the USB drive down the toilet at his gym.” Gov’t’s Mem. at 10. Nonetheless, this is an

   admission of defendant’s access to the passphrases necessary to steal the 712.6 bitcoin.

3. Email records show that defendant’s personal Google account received four automated

   messages from “no-reply@trezor.io” during the period of April 19 to April 26, 2020, when

   the 712.6 bitcoin stored on Larry Harmon’s Trezor-brand cryptocurrency storage devices

   seized by the government was transferred into new bitcoin wallets allegedly controlled by

   defendant. See id. at 8-9. These emails reflect the use of Trezor’s web interface to remotely

   recreate a Trezor wallet using seed recovery words and passphrases. See id. at 9. No other

   messages from “trezor.io” to or from defendant have been identified at any other time.



                                          Page 4 of 8


                                                                                                   16
       Case
       Case1:21-cr-00433-BAH
            1:21-cr-00433-BAH Document
                              Document25
                                       24
                                        20 Filed
                                           Filed10/13/21
                                                 10/08/21
                                                  09/27/21 Page
                                                           Page17
                                                                10
                                                                 9 of
                                                                   of12
                                                                      19
                                                                      40

                              United States v. Harmon, 21-cr-433


   Notably, no transactions took place after the government filed its emergency motion for

   pretrial detention of Larry Harmon on April 26, 2020, indicating “that the responsible party

   was aware of developments in Larry Harmon’s criminal case.” Id. at 8.

4. The government proffered blockchain evidence showing the subsequent laundering of some

   of the 712.6 bitcoin through the bitcoin-mixing services Wasabi Wallet and ChipMixer.com,

   see id. at 10, and financial records showing that defendant made significant cash deposits into

   his bank account that “are consistent with the defendant engaging in peer-to-peer sales

   involving the missing 712.6 [bitcoin],” id. at 11; see also id., Fig. 3 (check showing

   defendant’s deposit of $52,000 into his bank account on Jan. 11, 2021 with “crypto” noted in

   memo line). He also participated in the cryptocurrency exchange Bittrex and spent bitcoin to

   purchase 16,079,260.6675007 in Dogecoin, see id. at 12, and used “crypto” to pay for

   nightclubs, id. at 14, Fig. 5 (note from defendant’s iPhone reflecting, inter alia, “Whale room

   #206 for 5 hours . . . Total: $25,000”; “Dancer Fee $15,000.00 after 10% Palladium Fee

   Grand Total: $16,500.00”; “100,000 singles After Fees=$122,232.00”). In late March 2021,

   defendant additionally deposited 67.63 bitcoin, with an estimated value of $3.5 million at the

   time of the transaction, into a new account with the cryptocurrency finance company

   BlockFi. Id. at 12. This deposit was flagged by BlockFi for “close exposure to a Darknet

   Market and Ransomware.” Id. at 13, Fig. 4.

5. The government recovered two Trezor-brand cryptocurrency storage devices and

   approximately 50 sets of seed words upon execution of a search warrant in an apartment that

   defendant formerly occupied and continued to use. Id. at 15. These seed words were used to

   reconstitute and seize bitcoin wallets containing bitcoin valued at about $6,000, but the bulk

   of the missing 712.6 bitcoin remains missing. Id.



                                           Page 5 of 8


                                                                                                     17
          Case 1:21-cr-00433-BAH Document 25
                                          20 Filed 10/13/21
                                          24       09/27/21 Page 18
                                                   10/08/21      10 of 40
                                                                 11    12
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                                     United States v. Harmon, 21-cr-433


         In sum, the weight of this circumstantial evidence suggesting that defendant seized,

transferred, and laundered the missing 712.6 bitcoin is very strong and further supports pretrial

detention.

(3) The History and Characteristics of the Person:

         Defendant is 30 years old, has no prior convictions, has lived in Ohio his entire life, and

his family, friends, and girlfriend of about five months also live in the state. See Pretrial Servs.

Report at 1, ECF No. 8; Def.’s Opp’n at 5. These factors would usually assuage concerns as to

whether defendant poses a serious risk of flight. See 18 U.S.C. § 3142(f)(2)(A). Yet, concerns

about his risk of flight and further obstructive conduct, id. § 3142(f)(2)(B), persist here given

defendant’s apparent access to millions of dollars in cryptocurrency for significant expenditures

while unemployed, see Gov’t’s Mem. at 10-14; his use of TapJets, a private charter jet company

that accepts bitcoin as payment, id. at 21; his “demonstrated . . . ability to remotely access and

launder bitcoin from anywhere in the world with an Internet connection,” id.; his knowledge of

the Darknet—where false documents are available for purchase—to “finance his flight from

prosecution for the rest of his life,” id. at 22; and alleged obstructive conduct in seizing bitcoin

held by law enforcement and subject to forfeiture in an ongoing criminal proceeding against his

own brother, id. at 6-8. These considerations raise serious concerns about defendant’s

willingness to comply with even the most stringent release conditions. 2

2
          Defendant initially agreed that “rigorous bail conditions such as those imposed on his brother under [the
High Intensity Supervision Program] are sufficient to reasonably mitigate any community danger and assure Mr.
Harmon’s appearances in court,” including a prohibition on “making cryptocurrency transactions.” Def.’s Opp’n at
15-16 (emphasis added). Defense counsel reiterated this point during the September 10, 2021 detention hearing and
further stated that she assumed “Mr. Harmon would not have an objection” to entry of an order like the one entered
in his brother’s case requiring defendant to turn over any cryptocurrency and access credentials under his control.
See Rough Hr’g Tr. (Sept. 10, 2021) at 20:25-21:25. After the Court continued the detention hearing to provide the
parties an opportunity to confer about possible release conditions—including entry of an order preserving
cryptocurrency assets like that entered in Larry Harmon’s case, see 19-cr-395 (BAH), ECF No. 26—defendant
announced his opposition to such a condition of release as violative of his right against self-incrimination under the
Fifth Amendment and rejected the government’s offer of limited act-of-production immunity for the transfer of any
crypto assets. See Notice Regarding Failure to Reach Agreement on Proposed Conditions of Release at 2, ECF No.

                                                    Page 6 of 8


                                                                                                                         18
          Case 1:21-cr-00433-BAH Document 25
                                          20 Filed 10/13/21
                                          24       09/27/21 Page 19
                                                   10/08/21      11 of 40
                                                                 12    12
                                                                       19

                                    United States v. Harmon, 21-cr-433


        Defendant does not meaningfully dispute the government’s evidence from witnesses that

he is estranged from his family due to the family’s belief that defendant stole the bitcoin and put

his brother’s pretrial release at risk of revocation. Compare Gov’t’s Reply in Supp. of Pretrial

Detention (“Gov’t’s Reply”) at 3, ECF No. 3, with Def.’s Opp’n at 6 (dismissing as “unsourced

gossip” the government’s account, based on multiple witness testimony, of defendant’s

deteriorating relationship with his family); see also Rough Hr’g Tr. (Sept. 10, 2021) at 10:6-13.

Yet, the only character references submitted on defendant’s behalf are not from his family, but

from persons he has been friends with for a year or less. See Def.’s Opp’n, Ex. A, B. Simply

put, despite having spent his entire life in Ohio, defendant’s ties to his family and community do

not appear to be meaningful or longstanding. Furthermore, defendant’s proposed third-party

custodian, Alyssa Pisani, has been his girlfriend since May 2021—less than three months before

his arrest, see Def.’s Opp’n, Ex. A—and she has a full-time job, which necessarily means that

she will be unable to monitor defendant’s compliance with release conditions at all hours of the

day, see Gov’t’s Reply at 9.

        Taken together, these considerations weigh in favor of pretrial detention.

(4) The Nature and Seriousness of the Danger to Any Person or the Community that
    Would be Posed by the Person’s Release:

        The strong evidence supporting the obstruction charge, under 18 U.S.C. § 1512(c)(2),

raises serious concerns about defendant’s willingness to use his knowledge and skills to engage

in similar conduct in the future to further obstruct law enforcement functions and judicial

proceedings. Defendant’s decision to flush down the toilet the USB thumb drive he received




18; Def.’s Resp. to the Gov’t’s “Notice Regarding Failure to Reach Agreement of Proposed Conditions of Release,”
ECF No. 19. Defendant’s agreement to this condition would have gone “very far in addressing the government’s
concerns”—and this Court’s—about his risk of flight and potential for future obstruction. Rough Hr’g Tr. (Sept. 10,
2021) at 13:3-14:6.

                                                  Page 7 of 8


                                                                                                                      19
           Case 1:21-cr-00433-BAH Document 25
                                           20 Filed 10/13/21
                                           24       09/27/21 Page 20
                                                    10/08/21      12 of 40
                                                                  13    12
                                                                        19

                               United States v. Harmon, 21-cr-433


from his brother with access keys to the bitcoin subject to forfeiture in Larry Harmon’s criminal

case, see Gov’t’s Mem. at 9-10, and which, at a minimum, may have contained evidence relevant

to his brother’s criminal proceeding, reveal defendant’s lack of respect for judicial process and

willingness to dispose of evidence. The fact that the 712.6 bitcoin was boldly stolen from under

the very noses of law enforcement, which had seized Larry Harmon’s bitcoin storage devices,

regardless of the consequences to Larry Harmon—and that the evidence points directly to

defendant as the person with the skills, knowledge, and access to the seed recovery passphrases

necessary to execute this remote theft—demonstrates that no condition or combination of

conditions can assure defendant’s full compliance with any pretrial release conditions. This risk

of noncompliance is only increased by defendant’s alleged continuing control over possibly

millions of dollars in bitcoin and difficult-to-monitor use of a ProtonMail address—an encrypted

email service based in Switzerland through which defendant registered to make bitcoin deposits

between January and March 2021 into the Bittrex cryptocurrency exchange and a BlockFi

account—which would be available for his use to engage in future obstruction. See id. at 12.

       Defendant therefore represents a danger of further obstructive conduct that can only be

effectively prevented through pretrial detention and thus this final factor also weighs against his

release.




                                            Page 8 of 8


                                                                                                      20
         Case 1:21-cr-00433-BAH Document 25
                                         24 Filed 10/13/21
                                                  10/08/21 Page 21
                                                                14 of 40
                                                                      19

                                                                                           CAT B
                                U.S. District Court
                     District of Columbia (Washington, DC)
              CRIMINAL DOCKET FOR CASE #: 1:21−cr−00433−BAH−1

Case title: USA v. HARMON                                Date Filed: 06/28/2021

Assigned to: Chief Judge Beryl A.
Howell

Defendant (1)
GARY JAMES HARMON                   represented by Sabrina P. Shroff
                                                   OFFICE OF THE FEDERAL PUBLIC
                                                   DEFENDER
                                                   625 Indiana Avenue, NW
                                                   Suite 550
                                                   20004
                                                   Washington, DC 20004
                                                   (202) 208−7500
                                                   Fax: (202) 208−7515
                                                   Email: Sabrina_Shroff@fd.org
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Public Defender or Community
                                                   Defender Appointment

Pending Counts                                    Disposition
18:1956(a)(1)(B)(i); MONEY
LAUNDERING − FRAUD,
OTHER; Money Laundering
(1−8)
18:1512(c)(2); TAMPERING
WITH A WITNESS, VICTIM OR
INFORMANT; Obstruction of an
Official Proceeding
(9)
18:2232(a); DESTRUCTION OR
REMOVAL OF PROPERTY TO
PREVENT SEIZURE; Removal of
Property TO Prevent Seizure
(10)

Highest Offense Level (Opening)
Felony

Terminated Counts                                 Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                        Disposition
None


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       Case 1:21-cr-00433-BAH Document 25
                                       24 Filed 10/13/21
                                                10/08/21 Page 22
                                                              15 of 40
                                                                    19


Plaintiff
USA                                           represented by Christopher Brodie Brown
                                                             U.S. ATTORNEY'S OFFICE FOR THE
                                                             DISTRICT OF COLUMBIA
                                                             555 Fourth Street, NW
                                                             Washington, DC 20530
                                                             (202) 252−7153
                                                             Fax: (202) 514−9155
                                                             Email: christopher.brown6@usdoj.gov
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Assistant U.S. Attorney

                                                             Catherine Pelker
                                                             U.S. DEPARTMENT OF JUSTICE
                                                             950 Pennsylvania Ave NW
                                                             Washington, DC 20530
                                                             202−616−5007
                                                             Email: catherine.pelker@usdoj.gov
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Assistant U.S. Attorney

 Date Filed   #   Docket Text
 06/28/2021   1 SEALED INDICTMENT as to GARY JAMES HARMON (1) count(s) 1−8, 9, 10.
                (FORFEITURE ALLEGATION). (bb) (Entered: 06/29/2021)
 06/28/2021   3 MOTION to Seal Case by USA as to GARY JAMES HARMON. (Attachments: # 1
                Text of Proposed Order)(bb) (Entered: 06/29/2021)
 06/28/2021   4 ORDER granting 3 Motion to Seal Case as to GARY JAMES HARMON (1). Signed
                by Magistrate Judge G. Michael Harvey on 6/28/2021. (bb) (Entered: 06/29/2021)
 07/28/2021   5 Arrest Warrant Returned Executed on 7/28/2021 in Cleveland, OH as to GARY
                JAMES HARMON. (bb) (Entered: 07/28/2021)
 07/28/2021       Arrest of GARY JAMES HARMON in Ohio. (bb) (Entered: 07/28/2021)
 07/28/2021       Case unsealed as to GARY JAMES HARMON (bb) (Entered: 07/28/2021)
 08/03/2021   6 STANDING ORDER as to GARY JAMES HARMON. Signed by Chief Judge Beryl
                A. Howell on August 3, 2021. (lcbah2) (Entered: 08/03/2021)
 08/12/2021   7 NOTICE OF ATTORNEY APPEARANCE Catherine Pelker appearing for USA.
                (Pelker, Catherine) (Entered: 08/12/2021)
 08/13/2021       ORAL MOTION by Defendant GARY JAMES HARMON to Appoint Counsel. (kk)
                  (Entered: 08/18/2021)
 08/13/2021       ORAL MOTION by USA for Temporary Detention (3−day hold request) of Defendant
                  GARY JAMES HARMON. (kk) (Entered: 08/18/2021)
 08/13/2021       Minute Entry for Initial Appearance and Arraignment as to GARY JAMES HARMON
                  held by video before Magistrate Judge Robin M. Meriweather on 8/13/2021 : The
                  defendant agrees to proceed by video for today's hearing. The defendant expressed
                  interest in having his future hearings conducted in−person. Oral Motion by Defendant
                  to Appoint Counsel. The defendant's assets have been frozen. The Court finds that the
                  defendant is eligible for court−appointed counsel and appoints Assistant Federal
                  Public Defender Sabrina Shroff to represent GARY JAMES HARMON. Plea of Not
                  Guilty entered by GARY JAMES HARMON to Counts 1−8, 9 and 10. The Court
                  advised the Government of its due process obligations under Rule 5(f). Status Hearing
                  set before Chief Judge Beryl A. Howell on 8/19/2021 at 1:00 PM by telephonic/VTC.
                  Oral Motion by USA for Temporary Detention (3−day hold request) of the defendant,
                  heard and granted. The detention hearing will be scheduled after defense counsel
                  notifies chambers of her available dates for the hearing. Bond Status of Defendant:
                  Defendant remains committed. Court Reporter: FTR Gold − Ctrm. 7; FTR Time

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     Case 1:21-cr-00433-BAH Document 25
                                     24 Filed 10/13/21
                                              10/08/21 Page 23
                                                            16 of 40
                                                                  19

                 Frame: 2:27:28 − 3:12:54. Defense Attorney: Sabrina Shroff; DOJ Attorney: Alden
                 Pelker standing in for Christopher Brown; Pretrial Officer: Christine Schuck. (kk)
                 (Entered: 08/18/2021)
08/16/2021       NOTICE OF HEARING as to GARY JAMES HARMON. The parties shall take
                 notice that an Initial Status Conference is scheduled for 8/19/2021, at 1:00 PM in via
                 videoconference before Chief Judge Beryl A. Howell. A videoconference link will be
                 provided by the deputy clerk. (ztg) (Entered: 08/16/2021)
08/17/2021    9 NOTICE OF ATTORNEY APPEARANCE: Sabrina P. Shroff appearing for GARY
                JAMES HARMON (Shroff, Sabrina) (Entered: 08/17/2021)
08/19/2021       Minute Entry for proceedings held before Chief Judge Beryl A. Howell: Status
                 Conference as to GARY JAMES HARMON held via videoconference on 8/19/2021;
                 the Defendant agreed to participate via videoconference after consultation with
                 counsel. A Bond Hearing is scheduled for 9/9/2021, at 9:30 AM before Chief Judge
                 Beryl A. Howell; a briefing scheduling order will be issued by the Court. A further
                 Status Hearing is scheduled for 9/23/2021, at 9:00 AM before Chief Judge Beryl A.
                 Howell. The Defendant agreed to exclude time under the Speedy Trial Act until the
                 next status hearing of 9/23/2021. The Court found that time under the Speedy Trial Act
                 shall be excluded from 8/19/2021 through 9/23/2021, in the interests of justice and
                 those interests outweigh the interests of the public and the defendant in a speedy trial
                 in order to give the parties time to discuss a protective order, give the government time
                 for production of discovery, and the Defendant and his counsel time to review and
                 discuss the discovery. Bond Status of Defendant: Defendant committed. Present via
                 videoconference: Defense Attorney: Sabrina P. Shroff; US Attorneys: Christopher B.
                 Brown and Catherine Pelker. Court Reporter: Elizabeth Saint−Loth. (ztg) (Entered:
                 08/19/2021)
08/19/2021       MINUTE ORDER (paperless), as to GARY JAMES HARMON, ISSUING the
                 following SCHEDULING ORDER: (1) by August 24, 2021, the government shall file
                 its motion for pretrial detention; (2) defendant shall file his opposition by August 30,
                 2021; (3) the government shall file any reply by September 1, 2021; and (4) the parties
                 shall appear via videoconference at 9:30am on September 9, 2021, for a hearing on the
                 government's motion for pretrial detention. Signed by Chief Judge Beryl A. Howell on
                 August 19, 2021. (lcbah2) (Entered: 08/19/2021)
08/24/2021   10 MEMORANDUM in Support of Pretrial Detention by USA as to GARY JAMES
                HARMON (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Brown, Christopher) (Entered:
                08/24/2021)
08/27/2021   11 Defendant's Motion for an Extension of Time to Oppose The Government's Motion for
                Pretrial Detention by GARY JAMES HARMON. (Shroff, Sabrina) Modified event
                and text on 8/31/2021 (bb). (Entered: 08/27/2021)
08/27/2021       MINUTE ORDER (paperless) GRANTING defendant's consent 11 Motion for an
                 Extension of Time to Oppose the Government's Motion for Pretrial Detention, and
                 AMENDING the SCHEDULING ORDER as follows: (1) defendant shall file his
                 opposition by September 3, 2021; (2) the government shall file any reply by
                 September 6, 2021; and (3) the parties shall appear via videoconference at 2:00pm on
                 September 9, 2021, for a hearing on the government's motion for pretrial detention.
                 Signed by Chief Judge Beryl A. Howell on August 27, 2021 (lcbah2) (Entered:
                 08/27/2021)
08/30/2021       Set/Reset Deadlines/Hearings as to GARY JAMES HARMON: Defendant's
                 opposition due by 9/3/2021. Government's reply due by 9/6/2021. VTC Bond Hearing
                 rescheduled to 9/9/2021 at 2:00 PM before Chief Judge Beryl A. Howell. (hmc)
                 (Entered: 08/30/2021)
08/30/2021   12 MOTION for Protective Order by USA as to GARY JAMES HARMON.
                (Attachments: # 1 Text of Proposed Order)(Brown, Christopher) (Entered:
                08/30/2021)
08/31/2021       MINUTE ORDER granting 12 Motion for Protective Order as to GARY JAMES
                 HARMON. Signed by Chief Judge Beryl A. Howell on 8/31/2021. (hmc) (Entered:
                 08/31/2021)



                                                                                                             23
     Case 1:21-cr-00433-BAH Document 25
                                     24 Filed 10/13/21
                                              10/08/21 Page 24
                                                            17 of 40
                                                                  19

09/01/2021   13 PROTECTIVE ORDER as to GARY JAMES HARMON. Signed by Chief Judge
                Beryl A. Howell on September 1, 2021. (lcbah2) (Entered: 09/01/2021)
09/02/2021       NOTICE OF RESCHEDULED HEARING as to GARY JAMES HARMON. The
                 parties shall take notice that the Pretrial Detention Hearing set for 9/9/2021 is
                 RESCHEDULED to 9/10/2021 at 2:00 PM, via videoconference, before Chief Judge
                 Beryl A. Howell. (hmc) (Entered: 09/02/2021)
09/03/2021   14 Memorandum in Opposition by GARY JAMES HARMON re MOTION for
                Temporary Detention (Attachments: # 1 Exhibit)(Shroff, Sabrina) (Entered:
                09/03/2021)
09/06/2021   15 REPLY by USA as to GARY JAMES HARMON re 14 Memorandum in Opposition to
                the Government's Motion for Pretrial Detention (Brown, Christopher) (Entered:
                09/06/2021)
09/08/2021   16 LETTER by GARY JAMES HARMON. "Leave to File Granted" by Chief Judge
                Beryl A. Howell on 9/8/2021. (bb) (Entered: 09/10/2021)
09/10/2021       Minute Entry for proceedings held before Chief Judge Beryl A. Howell: Motion
                 Hearing as to GARY JAMES HARMON held via videoconference on 9/10/2021; the
                 Defendant agreed to participate via videoconference after consultation with counsel.
                 Argument heard by the Court on the Government's Motion for Pretrial Detention,
                 Motion Hearing CONTINUED to 9/14/2021, at 12:00 PM before Chief Judge Beryl A.
                 Howell. Bond Status of Defendant: Defendant committed. Present via
                 videoconference: Defense Attorney: Sabrina P. Shroff; US Attorney: Christopher B.
                 Brown and Catherine Pelker; Pretrial Officer: Christine Schuck (telephonically). Court
                 Reporter: Elizabeth Saint−Loth. (ztg) (Entered: 09/10/2021)
09/13/2021       MINUTE ORDER (paperless) DIRECTING defendant, by 4pm today, to advise the
                 Court about his position regarding the conditions for pre−trial release agreed to in US
                 v. Larry Harmon, 19−cr−395, including (1) the prohibition on defendant conducting
                 any virtual or crypto currency transactions, see 19−cr−395, ECF No. 20 at 2, and (2)
                 directing defendant to provide the government with "access to any and all
                 cryptocurrency within the defendant's possession, custody, and control, including by
                 disclosing seed recovery keys, access to hidden wallets, and other keys needed to
                 transfer cryptocurrency," see 19−cr−395, ECF No. 26 at 1. Signed by Chief Judge
                 Beryl A. Howell on September 13, 2021. (lcbah2) (Entered: 09/13/2021)
09/13/2021       Set/Reset Deadlines as to GARY JAMES HARMON: Response to Order of the Court
                 due by 4:00 PM on 9/13/2021. (ztg) (Entered: 09/13/2021)
09/13/2021   17 Joint MOTION to Continue Detention Hearing by USA as to GARY JAMES
                HARMON. (Attachments: # 1 Text of Proposed Order)(Brown, Christopher) (Entered:
                09/13/2021)
09/14/2021       MINUTE ORDER granting 17 Joint Motion to Continue Hearing on Pretrial Detention
                 as to GARY JAMES HARMON. Upon consideration of the joint motion, it is hereby
                 ORDERED that the hearing on the Government's Motion for Pretrial Detention
                 currently scheduled for September 14, 2021, shall be CONTINUED to September 17,
                 2021, at 12:30 PM via videoconference before Chief Judge Beryl A. Howell. SO
                 ORDERED. Signed by Chief Judge Beryl A. Howell on 9/14/2021. (ztg) (Entered:
                 09/14/2021)
09/16/2021   18 NOTICE Regarding Failure To Reach Agreement on Proposed Conditions of Release
                by USA as to GARY JAMES HARMON (Attachments: # 1 Exhibit A)(Brown,
                Christopher) (Entered: 09/16/2021)
09/16/2021   19 RESPONSE by GARY JAMES HARMON re 18 Notice (Attachments: # 1
                Exhibit)(Shroff, Sabrina) Modified event title and link on 9/21/2021 (znmw). (Entered:
                09/16/2021)
09/17/2021       Minute Entry for proceedings held before Chief Judge Beryl A. Howell: Motion
                 Hearing as to GARY JAMES HARMON not held on 9/17/2021. The motion hearing
                 will be continued to a date and time next week when the D.C. Jail can accommodate
                 the appearance of the Defendant who is in quarantine due to COVID 19. Bond Status
                 of Defendant: Defendant committed. Present: Defense Attorney: Sabrina Shroff; US
                 Attorneys: Christopher B. Brown and Catherine Pelker; Pretrial Officer: Christine

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     Case 1:21-cr-00433-BAH Document 25
                                     24 Filed 10/13/21
                                              10/08/21 Page 25
                                                            18 of 40
                                                                  19

                 Schuck. Court Reporter: Elizabeth Saint−Loth. (ztg) (Entered: 09/17/2021)
09/20/2021       Set/Reset Hearings as to GARY JAMES HARMON: Motion Hearing
                 RESCHEDULED for 9/24/2021, at 10:45 AM via videoconference before Chief Judge
                 Beryl A. Howell. (ztg) (Entered: 09/20/2021)
09/20/2021       Terminate Hearings as to GARY JAMES HARMON: Status Hearing scheduled for
                 9/23/2021, VACATED. (ztg) (Entered: 09/20/2021)
09/24/2021       Minute Entry for proceedings held before Chief Judge Beryl A. Howell: Detention
                 Hearing as to GARY JAMES HARMON held via videoconference on 9/24/2021; the
                 Defendant agreed to participate telephonically after consultation with counsel.
                 Government's Motion for Pretrial Detention, heard and granted. The Defendant shall
                 remain detained pending trial. A Status Hearing is scheduled for 11/5/2021, at 9:00
                 AM before Chief Judge Beryl A. Howell. Time excluded under the Speedy Trial Act
                 from 9/24/2021 through 11/5/2021, in the interests of justice and those interests
                 outweigh the interests of the public and the defendant in a speedy trial in order to give
                 time for the completion of discovery, the parties discussions for a disposition short of
                 trial, and for the Defendant and his counsel to discuss how they wish to proceed in this
                 case. Bond Status of Defendant: Defendant committed. Present via videoconference:
                 Defense Attorney: Sabrina P. Shroff; US Attorneys: Christopher B. Brown and
                 Catherine Pelker; Pretrial Officer: John Copes (in person). Court Reporter: Elizabeth
                 Saint−Loth. (ztg) (Entered: 09/24/2021)
09/27/2021   20 ORDER of DETENTION PENDING TRIAL as to GARY JAMES HARMON. Signed
                by Chief Judge Beryl A. Howell on September 27, 2021. (lcbah2) (Entered:
                09/27/2021)
10/03/2021   21 TRANSCRIPT OF PROCEEDINGS, in case as to GARY JAMES HARMON, before
                Chief Judge Beryl A. Howell, held on 9−10−2021. Page Numbers: 1 − 44. Date of
                Issuance: 10−03−2021. Court Reporter: Elizabeth SaintLoth, Telephone number:
                202−354−3242. Transcripts may be ordered by submitting the Transcript Order Form

                 For the first 90 days after this filing date, the transcript may be viewed at the
                 courthouse at a public terminal or purchased from the co urt reporter referenced above.
                 After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                 (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                 NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                 days to file with the court and the court reporter any request to redact personal
                 identifiers from this transcript. If no such requests are filed, the transcript will be made
                 available to the public via PACER without redaction after 90 days. The policy, which
                 includes the five personal identifiers specifically covered, is located on our website at
                 www.dcd.uscourts.gov.

                 Redaction Request due 10/24/2021. Redacted Transcript Deadline set for 11/3/2021.
                 Release of Transcript Restriction set for 1/1/2022.(Saint−Loth, Elizabeth) (Entered:
                 10/03/2021)
10/03/2021   22 TRANSCRIPT OF PROCEEDINGS, in case as to GARY JAMES HARMON, before
                Chief Judge Beryl A. Howell, held on 9−24−2021. Page Numbers: 1 − 39. Date of
                Issuance: 10−03−2021. Court Reporter: Elizabeth SaintLoth, Telephone number:
                202−354−3242. Transcripts may be ordered by submitting the Transcript Order Form

                 For the first 90 days after this filing date, the transcript may be viewed at the
                 courthouse at a public terminal or purchased from the co urt reporter referenced above.
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Case 1:21-cr-00433-BAH Document 25
                                24 Filed 10/13/21
                                         10/08/21 Page 26
                                                       19 of 40
                                                             19

          Redaction Request due 10/24/2021. Redacted Transcript Deadline set for 11/3/2021.
          Release of Transcript Restriction set for 1/1/2022.(Saint−Loth, Elizabeth) (Entered:
          10/03/2021)




                                                                                                 26
Case
Case1:21-cr-00433-BAH
     1:21-cr-00433-BAH Document
                       Document25
                                20 Filed
                                   Filed10/13/21
                                         09/27/21 Page
                                                  Page27
                                                       1 of
                                                         of12
                                                            40




                                                                 27
Case
Case1:21-cr-00433-BAH
     1:21-cr-00433-BAH Document
                       Document25
                                20 Filed
                                   Filed10/13/21
                                         09/27/21 Page
                                                  Page28
                                                       2 of
                                                         of12
                                                            40




                                                                 28
Case
Case1:21-cr-00433-BAH
     1:21-cr-00433-BAH Document
                       Document25
                                20 Filed
                                   Filed10/13/21
                                         09/27/21 Page
                                                  Page29
                                                       3 of
                                                         of12
                                                            40




                                                                 29
Case
Case1:21-cr-00433-BAH
     1:21-cr-00433-BAH Document
                       Document25
                                20 Filed
                                   Filed10/13/21
                                         09/27/21 Page
                                                  Page30
                                                       4 of
                                                         of12
                                                            40




                                                                 30
          Case
          Case1:21-cr-00433-BAH
               1:21-cr-00433-BAH Document
                                 Document25
                                          20 Filed
                                             Filed10/13/21
                                                   09/27/21 Page
                                                            Page31
                                                                 5 of
                                                                   of12
                                                                      40

                                     United States v. Harmon, 21-cr-433


     ATTACHMENT TO ORDER OF DETENTION PENDING TRIAL, PART III. C:
          Consideration of Defendant’s evidence/arguments for release and
                            18 U.S.C. § 3142(g) Factors
(1) The Nature and Circumstances of the Offense:

         The nature and circumstances of the offense weigh in favor of detention. Defendant is

charged by indictment with ten felony counts of money laundering, obstruction of an official

proceeding, and removal of property to prevent seizure, see Indictment, ECF No. 2, based on his

alleged offense conduct, beginning in April 2020, of absconding with approximately 712.6

bitcoin (with a current estimated value of $ 30,500,000) that was contained in the bitcoin wallets

seized by the government upon the arrest of his brother, Larry Harmon, and subject to forfeiture

in that case, United States v. Larry Dean Harmon, No. 19-cr-395 (BAH). Gov’t’s Mem. in

Supp. of Pretrial Detention (“Gov’t’s Mem.”) at 1-2, 17, ECF No. 10. The government proffers

that defendant took control of the 712.6 bitcoin “knowing that the property represented his

brother’s illegal proceeds from operating the bitcoin money laundering service Helix, and

knowing that the property had been seized and was part of the criminal proceeding against his

brother.” Id. at 17. 1

         According to the government, defendant stole the 712.6 bitcoin “after he personally

attended court hearings [on February 11 and March 13, 2020] in his brother’s case and heard

testimony and argument about the unsecured bitcoin.” Id. (emphasis in original). As a condition

of pretrial release, Larry Harmon agreed not to engage in any cryptocurrency transactions.

Between April 19 and 24, 2020, defendant allegedly executed the theft while law enforcement

had custody of electronic storage devices and access keys seized from Larry Harmon that




1
         Helix was a bitcoin “mixer” or “tumbler” that enabled customers, for a fee, to send bitcoins to designated
recipients in a manner which was designed to conceal and obfuscate the source or owner of the bitcoins. See
Gov’t’s Mem. at 1.

                                                   Page 1 of 8


                                                                                                                      31
        Case
        Case1:21-cr-00433-BAH
             1:21-cr-00433-BAH Document
                               Document25
                                        20 Filed
                                           Filed10/13/21
                                                 09/27/21 Page
                                                          Page32
                                                               6 of
                                                                 of12
                                                                    40

                               United States v. Harmon, 21-cr-433


contained evidence of the latter’s illegal bitcoin transactions for which Larry Harmon has now

pleaded guilty. See 19-cr-395 (BAH), ECF No. 122. This prompted an emergency detention

hearing on April 28, 2020 for Larry Harmon, who denied he had violated the pretrial release

condition and was ordered to provide the government with access to all his cryptocurrency and

turn over those assets to law enforcement for their preservation. See id., ECF No. 26.

       Despite the risk of causing the revocation of his brother’s pretrial release, defendant

allegedly took the bold move of transferring 712.6 bitcoin from his brother’s bitcoin wallets

using remote means into new bitcoin wallets, and then transferred some of that bitcoin through

two different bitcoin mixers, Wasabi Wallet and ChipMixer.com, see Gov’t’s Mem. at 10, in an

effort to obscure the source of the bitcoin. The government further alleges that defendant

subsequently “began making thousands of dollars in unexplained cash deposits into his bank

account in late 2020 and early 2021,” id. at 11, a period when he was collecting unemployment

insurance but during which period he nonetheless engaged in a significant spending spree that

included the purchase of a luxury automobile and apartment in Cleveland, Ohio, see id. at 11-12;

spending “bitcoin extravagantly at nightclubs,” id. at 14; and using “TapJets, a private charter jet

company that accepts bitcoin as payment,” id. See also id., Fig. 5 (showing evidence recovered

from defendant’s cellphone, including receipts for nightclub expenditures and a photo of

defendant inside a bathtub and covered by $100,000 in single dollar bills). In this context, the

government argues that defendant’s “ability to remotely reconstitute [the bitcoin wallets seized

from his brother], transfer . . . the bitcoin into new, unhosted wallets, and then gradually launder

the bitcoin through two bitcoin mixing services reflects a significant degree of technological

sophistication” and “a high level of operational security.” Id. at 18.




                                            Page 2 of 8


                                                                                                       32
        Case
        Case1:21-cr-00433-BAH
             1:21-cr-00433-BAH Document
                               Document25
                                        20 Filed
                                           Filed10/13/21
                                                 09/27/21 Page
                                                          Page33
                                                               7 of
                                                                 of12
                                                                    40

                               United States v. Harmon, 21-cr-433


       As a result of this offense conduct, defendant is charged with three serious felony

offenses: (1) eight counts of money laundering, in violation of 18 U.S.C. § 1956(a)(1)(B)(i),

punishable by up to 20 years’ imprisonment on each count; (2) one count of corruptly

obstructing, influencing, or impending any official proceeding or attempting to do so, in

violation of 18 U.S.C. § 1512(c)(2), punishable by up to 20 years’ imprisonment; and (3) one

count of knowingly destroying, damaging, wasting, disposing of, transferring, or otherwise

taking any action with regards to property for the purpose of preventing or impairing the

government’s lawful authority to take such property into its custody or control, in violation of 18

U.S.C. § 2232(a), punishable by up to 5 years’ imprisonment. Defendant’s conviction would

also expose him to a significant financial penalty. See Gov’t’s Mem. at 19; see also United

States v. Bikundi, 47 F. Supp. 3d 131, 134 (D.D.C. 2014) (finding “substantial incentive to flee”

where defendant faced 20-year maximum on money laundering charges); United States v. Hong

Vo, 978 F. Supp. 2d 41, 43 (D.D.C. 2013) (finding detention appropriate for defendant facing

high penalties for bribery and visa fraud).

       The nature and circumstances of defendant’s serious offense conduct involving alleged

obstruction in his brother’s criminal case accordingly weigh in favor of pretrial detention.

(2) The Weight of the Evidence Against the Person:

       The weight of the evidence against defendant strongly favors pretrial detention. The

government has significant and strong circumstantial evidence that defendant used remote means

to steal, transfer, and launder the missing 712.6 bitcoin formerly owned by his brother, Larry

Harmon, that was evidence in Larry Harmon’s criminal case and subject to forfeiture by the

government. Key evidence strongly supporting the charges in this case include:




                                              Page 3 of 8


                                                                                                      33
        Case
        Case1:21-cr-00433-BAH
             1:21-cr-00433-BAH Document
                               Document25
                                        20 Filed
                                           Filed10/13/21
                                                 09/27/21 Page
                                                          Page34
                                                               8 of
                                                                 of12
                                                                    40

                              United States v. Harmon, 21-cr-433


1. Defendant’s presence at court proceedings against his brother suggests that he knew the

   bitcoin owned by Larry Harmon was intended to be secured for future forfeiture by the

   government as illegal proceeds from Larry Harmon’s bitcoin money laundering service

   Helix. See Gov’t’s Mem. at 20-21. The government had seized Larry Harmon’s

   cryptocurrency Trezor storage devices in an effort to secure access to this bitcoin. To the

   extent defendant contends he did not understand the stolen 712.6 bitcoin was subject to

   forfeiture in the case against his brother, see Def.’s Mem. in Opp’n to Gov’t’s Mot. for

   Pretrial Detention (“Def.’s Opp’n”) at 7, ECF No. 14, this argument is simply unpersuasive.

2. To secure their cryptocurrency assets, bitcoin owners keep confidential or otherwise protect

   the seed recovery passphrases and additional access credentials necessary for transferring

   their bitcoin. Defendant admitted to the FBI during a voluntary interview on July 15, 2020

   that he obtained from Larry Harmon a USB thumb drive containing passwords for accounts

   and servers used at Larry Harmon’s company, where defendant worked, as well as “partial

   sets of seed words” for his brother’s bitcoin wallets, but defendant claims to have “flushed

   the USB drive down the toilet at his gym.” Gov’t’s Mem. at 10. Nonetheless, this is an

   admission of defendant’s access to the passphrases necessary to steal the 712.6 bitcoin.

3. Email records show that defendant’s personal Google account received four automated

   messages from “no-reply@trezor.io” during the period of April 19 to April 26, 2020, when

   the 712.6 bitcoin stored on Larry Harmon’s Trezor-brand cryptocurrency storage devices

   seized by the government was transferred into new bitcoin wallets allegedly controlled by

   defendant. See id. at 8-9. These emails reflect the use of Trezor’s web interface to remotely

   recreate a Trezor wallet using seed recovery words and passphrases. See id. at 9. No other

   messages from “trezor.io” to or from defendant have been identified at any other time.



                                          Page 4 of 8


                                                                                                   34
       Case
       Case1:21-cr-00433-BAH
            1:21-cr-00433-BAH Document
                              Document25
                                       20 Filed
                                          Filed10/13/21
                                                09/27/21 Page
                                                         Page35
                                                              9 of
                                                                of12
                                                                   40

                              United States v. Harmon, 21-cr-433


   Notably, no transactions took place after the government filed its emergency motion for

   pretrial detention of Larry Harmon on April 26, 2020, indicating “that the responsible party

   was aware of developments in Larry Harmon’s criminal case.” Id. at 8.

4. The government proffered blockchain evidence showing the subsequent laundering of some

   of the 712.6 bitcoin through the bitcoin-mixing services Wasabi Wallet and ChipMixer.com,

   see id. at 10, and financial records showing that defendant made significant cash deposits into

   his bank account that “are consistent with the defendant engaging in peer-to-peer sales

   involving the missing 712.6 [bitcoin],” id. at 11; see also id., Fig. 3 (check showing

   defendant’s deposit of $52,000 into his bank account on Jan. 11, 2021 with “crypto” noted in

   memo line). He also participated in the cryptocurrency exchange Bittrex and spent bitcoin to

   purchase 16,079,260.6675007 in Dogecoin, see id. at 12, and used “crypto” to pay for

   nightclubs, id. at 14, Fig. 5 (note from defendant’s iPhone reflecting, inter alia, “Whale room

   #206 for 5 hours . . . Total: $25,000”; “Dancer Fee $15,000.00 after 10% Palladium Fee

   Grand Total: $16,500.00”; “100,000 singles After Fees=$122,232.00”). In late March 2021,

   defendant additionally deposited 67.63 bitcoin, with an estimated value of $3.5 million at the

   time of the transaction, into a new account with the cryptocurrency finance company

   BlockFi. Id. at 12. This deposit was flagged by BlockFi for “close exposure to a Darknet

   Market and Ransomware.” Id. at 13, Fig. 4.

5. The government recovered two Trezor-brand cryptocurrency storage devices and

   approximately 50 sets of seed words upon execution of a search warrant in an apartment that

   defendant formerly occupied and continued to use. Id. at 15. These seed words were used to

   reconstitute and seize bitcoin wallets containing bitcoin valued at about $6,000, but the bulk

   of the missing 712.6 bitcoin remains missing. Id.



                                           Page 5 of 8


                                                                                                     35
          Case 1:21-cr-00433-BAH Document 25
                                          20 Filed 10/13/21
                                                   09/27/21 Page 36
                                                                 10 of 40
                                                                       12

                                     United States v. Harmon, 21-cr-433


         In sum, the weight of this circumstantial evidence suggesting that defendant seized,

transferred, and laundered the missing 712.6 bitcoin is very strong and further supports pretrial

detention.

(3) The History and Characteristics of the Person:

         Defendant is 30 years old, has no prior convictions, has lived in Ohio his entire life, and

his family, friends, and girlfriend of about five months also live in the state. See Pretrial Servs.

Report at 1, ECF No. 8; Def.’s Opp’n at 5. These factors would usually assuage concerns as to

whether defendant poses a serious risk of flight. See 18 U.S.C. § 3142(f)(2)(A). Yet, concerns

about his risk of flight and further obstructive conduct, id. § 3142(f)(2)(B), persist here given

defendant’s apparent access to millions of dollars in cryptocurrency for significant expenditures

while unemployed, see Gov’t’s Mem. at 10-14; his use of TapJets, a private charter jet company

that accepts bitcoin as payment, id. at 21; his “demonstrated . . . ability to remotely access and

launder bitcoin from anywhere in the world with an Internet connection,” id.; his knowledge of

the Darknet—where false documents are available for purchase—to “finance his flight from

prosecution for the rest of his life,” id. at 22; and alleged obstructive conduct in seizing bitcoin

held by law enforcement and subject to forfeiture in an ongoing criminal proceeding against his

own brother, id. at 6-8. These considerations raise serious concerns about defendant’s

willingness to comply with even the most stringent release conditions. 2

2
          Defendant initially agreed that “rigorous bail conditions such as those imposed on his brother under [the
High Intensity Supervision Program] are sufficient to reasonably mitigate any community danger and assure Mr.
Harmon’s appearances in court,” including a prohibition on “making cryptocurrency transactions.” Def.’s Opp’n at
15-16 (emphasis added). Defense counsel reiterated this point during the September 10, 2021 detention hearing and
further stated that she assumed “Mr. Harmon would not have an objection” to entry of an order like the one entered
in his brother’s case requiring defendant to turn over any cryptocurrency and access credentials under his control.
See Rough Hr’g Tr. (Sept. 10, 2021) at 20:25-21:25. After the Court continued the detention hearing to provide the
parties an opportunity to confer about possible release conditions—including entry of an order preserving
cryptocurrency assets like that entered in Larry Harmon’s case, see 19-cr-395 (BAH), ECF No. 26—defendant
announced his opposition to such a condition of release as violative of his right against self-incrimination under the
Fifth Amendment and rejected the government’s offer of limited act-of-production immunity for the transfer of any
crypto assets. See Notice Regarding Failure to Reach Agreement on Proposed Conditions of Release at 2, ECF No.

                                                    Page 6 of 8


                                                                                                                         36
          Case 1:21-cr-00433-BAH Document 25
                                          20 Filed 10/13/21
                                                   09/27/21 Page 37
                                                                 11 of 40
                                                                       12

                                    United States v. Harmon, 21-cr-433


        Defendant does not meaningfully dispute the government’s evidence from witnesses that

he is estranged from his family due to the family’s belief that defendant stole the bitcoin and put

his brother’s pretrial release at risk of revocation. Compare Gov’t’s Reply in Supp. of Pretrial

Detention (“Gov’t’s Reply”) at 3, ECF No. 3, with Def.’s Opp’n at 6 (dismissing as “unsourced

gossip” the government’s account, based on multiple witness testimony, of defendant’s

deteriorating relationship with his family); see also Rough Hr’g Tr. (Sept. 10, 2021) at 10:6-13.

Yet, the only character references submitted on defendant’s behalf are not from his family, but

from persons he has been friends with for a year or less. See Def.’s Opp’n, Ex. A, B. Simply

put, despite having spent his entire life in Ohio, defendant’s ties to his family and community do

not appear to be meaningful or longstanding. Furthermore, defendant’s proposed third-party

custodian, Alyssa Pisani, has been his girlfriend since May 2021—less than three months before

his arrest, see Def.’s Opp’n, Ex. A—and she has a full-time job, which necessarily means that

she will be unable to monitor defendant’s compliance with release conditions at all hours of the

day, see Gov’t’s Reply at 9.

        Taken together, these considerations weigh in favor of pretrial detention.

(4) The Nature and Seriousness of the Danger to Any Person or the Community that
    Would be Posed by the Person’s Release:

        The strong evidence supporting the obstruction charge, under 18 U.S.C. § 1512(c)(2),

raises serious concerns about defendant’s willingness to use his knowledge and skills to engage

in similar conduct in the future to further obstruct law enforcement functions and judicial

proceedings. Defendant’s decision to flush down the toilet the USB thumb drive he received




18; Def.’s Resp. to the Gov’t’s “Notice Regarding Failure to Reach Agreement of Proposed Conditions of Release,”
ECF No. 19. Defendant’s agreement to this condition would have gone “very far in addressing the government’s
concerns”—and this Court’s—about his risk of flight and potential for future obstruction. Rough Hr’g Tr. (Sept. 10,
2021) at 13:3-14:6.

                                                  Page 7 of 8


                                                                                                                      37
           Case 1:21-cr-00433-BAH Document 25
                                           20 Filed 10/13/21
                                                    09/27/21 Page 38
                                                                  12 of 40
                                                                        12

                               United States v. Harmon, 21-cr-433


from his brother with access keys to the bitcoin subject to forfeiture in Larry Harmon’s criminal

case, see Gov’t’s Mem. at 9-10, and which, at a minimum, may have contained evidence relevant

to his brother’s criminal proceeding, reveal defendant’s lack of respect for judicial process and

willingness to dispose of evidence. The fact that the 712.6 bitcoin was boldly stolen from under

the very noses of law enforcement, which had seized Larry Harmon’s bitcoin storage devices,

regardless of the consequences to Larry Harmon—and that the evidence points directly to

defendant as the person with the skills, knowledge, and access to the seed recovery passphrases

necessary to execute this remote theft—demonstrates that no condition or combination of

conditions can assure defendant’s full compliance with any pretrial release conditions. This risk

of noncompliance is only increased by defendant’s alleged continuing control over possibly

millions of dollars in bitcoin and difficult-to-monitor use of a ProtonMail address—an encrypted

email service based in Switzerland through which defendant registered to make bitcoin deposits

between January and March 2021 into the Bittrex cryptocurrency exchange and a BlockFi

account—which would be available for his use to engage in future obstruction. See id. at 12.

       Defendant therefore represents a danger of further obstructive conduct that can only be

effectively prevented through pretrial detention and thus this final factor also weighs against his

release.




                                            Page 8 of 8


                                                                                                      38
       Case 1:21-cr-00433-BAH Document 25 Filed 10/13/21 Page 39 of 40


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To:DCD_ECFNotice@localhost.localdomain
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−−Case Participants: Catherine Pelker (catherine.pelker@usdoj.gov), Christopher Brodie
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Sabrina P. Shroff (montserrat_a_fernandez@fd.org, sabrina_shroff@fd.org), Chief Judge
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Probation Court Notices (dcpdb_probation_court_notices@dcp.uscourts.gov)
−−No Notice Sent:

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Subject:Activity in Case 1:21−cr−00433−BAH USA v. HARMON Detention Hearing
Content−Type: text/html

                                           U.S. District Court

                                          District of Columbia

Notice of Electronic Filing


The following transaction was entered on 9/24/2021 at 3:37 PM and filed on 9/24/2021

Case Name:       USA v. HARMON
Case Number:     1:21−cr−00433−BAH
Filer:
Document Number: No document attached
Docket Text:
 Minute Entry for proceedings held before Chief Judge Beryl A. Howell: Detention Hearing as
to GARY JAMES HARMON held via videoconference on 9/24/2021; the Defendant agreed to
participate telephonically after consultation with counsel. Government's Motion for Pretrial
Detention, heard and granted. The Defendant shall remain detained pending trial. A Status
Hearing is scheduled for 11/5/2021, at 9:00 AM before Chief Judge Beryl A. Howell. Time
excluded under the Speedy Trial Act from 9/24/2021 through 11/5/2021, in the interests of
justice and those interests outweigh the interests of the public and the defendant in a
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videoconference: Defense Attorney: Sabrina P. Shroff; US Attorneys: Christopher B. Brown
and Catherine Pelker; Pretrial Officer: John Copes (in person). Court Reporter: Elizabeth
Saint−Loth. (ztg)


1:21−cr−00433−BAH−1 Notice has been electronically mailed to:

Christopher Brodie Brown christopher.brown6@usdoj.gov, USADC.CriminalDocket@usdoj.gov,
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Catherine Pelker   catherine.pelker@usdoj.gov



                                                                                                  39
       Case 1:21-cr-00433-BAH Document 25 Filed 10/13/21 Page 40 of 40


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1:21−cr−00433−BAH−1 Notice will be delivered by other means to::




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